                        IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MISSOURI
                                  WESTERN DIVISION

 K.C. HOPPS, LTD.,

                 Plaintiff,

 v.
                                                    Case No. 4:20-cv-437-SRB
 THE CINCINNATI INSURANCE
 COMPANY,

                 Defendant.

        PLAINTIFF’S POST-TRIAL MOTION FOR DIRECTED VERDICT AND
                    MEMORANDUM IN SUPPORT THEREOF

       On October 28, 2021, after the close of Defendant’s case at trial, Plaintiff moved for

judgment as a matter of law pursuant to Rule 50(a) of the Federal Rules of Civil Procedure on

Defendant’s Affirmative Defense No. 4 (the “Ordinance or Law” and “Acts or Decisions”

exclusions) and Affirmative Defense No. 11 (mitigation of damages). Pursuant to Rule 50(b),

Plaintiff now renews that motion following judgment as to Affirmative Defense No. 4. Plaintiffs

incorporate by reference the arguments filed in their Rule 50(a) motion (Doc. 234) and the

arguments contained in their Motion for a New Trial that is being filed contemporaneously with

this Motion.

                                       LEGAL STANDARD

       This Court is permitted to grant a motion for judgment as a matter of law against a party

on an issue if “there is no legally sufficient evidentiary basis for a reasonable jury to find for that

party on that issue.” Fed. R. Civ. P. 50(a). “If, for any reason, the court does not grant a motion

for judgment as a matter of law made at the close of all the evidence, the court is considered to

have submitted the action to jury subject to the court’s later deciding the legal questions raised by




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the motion.” Fed. R. Civ. P. 50(b). If the jury returns a verdict and a party chooses to renew its

motion and challenge the jury’s verdict, the Court must assess “whether there is sufficient evidence

supporting a jury verdict.” White v. Pence, 961 F.2d 776, 779 (8th Cir. 1992); see also Sip-Top,

Inc. v. Ekco Grp., Inc., 86 F.3d 827, 830 (8th Cir. 1996). The Court may grant the renewed motion

and enter judgment as a matter of law if the Court finds that no reasonable jury could find for the

nonmoving party under any permissible claim or theory. See Waner v. Ford Motor Co., 331 F.3d

851 (Fed. Cir. 2003).

       Although the non-movant must receive the benefit of all reasonable inferences, the non-

movant may not be accorded “the benefit of unreasonable inferences, or those at war with the

undisputed facts.” Larson by Larson v. Miller, 76 F.3d 1446, 1452 (8th Cir. 1996); Sip-Top, Inc.,

86 F.3d at 830. And when “the record contains no proof beyond speculation to support the

verdict,” judgment as a matter of law is appropriate. Larson, 76 F.3d at 1452 (citation omitted)

(emphasis added).

                                          ARGUMENT

       Plaintiff seeks a new trial based on the submission to the jury of the Ordinance or Law and

Acts or Decisions exclusion because those defenses were not supported by substantial evidence.

See Pl. Mot. for a New Trial and Supporting Mem. In fact, even a scintilla of evidence did not

support the application of those exclusions because, as explained more fully in that Motion and in

Plaintiff’s Rule 50(a) motion, Defendant Cincinnati Insurance Co. (“Cincinnati”) argued only that

the government orders caused the “loss” required of the exclusions. As a matter of law, however,

the orders themselves did not and could not cause physical loss or physical damage as required

under the Policy. Oral Surgeons, P.C. v. Cincinnati, Ins. Co., 2 F.4th 1141, 1144 (8th Cir. 2021).

Nor could those orders have caused or contributed to the presence of SARS-CoV-2 virus on



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Plaintiffs’ property. No such evidence was presented at trial; nor could there have been any basis

for the jury to reasonably conclude that these orders caused or contributed to any physical damage

or physical loss. Consequently, there was no evidence to support the exclusions. The Court should

therefore direct a verdict on Plaintiff’s behalf with respect to these defenses and order a new trial

without submission of these defenses to the jury for all the reasons more fully explained in

Plaintiff’s Motion for a New Trial.

                                         CONCLUSION

       The Court should grant Plaintiff’s Post-Trial Motion for Directed Verdict related to the

Acts or Decisions and Ordinance or Law Policy exclusions.




Dated: November 24, 2021                      Respectfully submitted,

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